Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 1 of 19




             EXHIBIT F
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 2 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 3 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 4 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 5 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 6 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 7 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 8 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 9 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 10 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 11 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 12 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 13 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 14 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 15 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 16 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 17 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 18 of 19
Case 1:18-md-02865-LAK   Document 219-6   Filed 11/05/19   Page 19 of 19
